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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

JAMES STANLEY,                                      )
                                                    )
        Plaintiff,                                  )
                                                    )
vs.                                                 )     CIVIL ACTION
                                                    )     NO. CV420-008
GENESEE & WYOMING RAILROAD                          )
SERVICES, INC., and SAVANNAH                        )
PORT TERMINAL RAILROAD, INC.,                       )
                                                    )
        Defendants.                                 )


                         DEFENDANTS’ DISCLOSURE STATEMENT
                            PURSUANT TO LOCAL RULE 7.1.1

        Pursuant to Local Rule 7.1.1 of this Court, the undersigned counsel of record for

Defendants Genesee & Wyoming Railroad Services, Inc. and Savannah Port Terminal Railroad,

Inc. certify that the following is a full and complete list of the parties to this action:

        1.      James Stanley, Plaintiff;

        2.      Genesee & Wyoming Railroad Services, Inc., Defendant; and

        3.      Savannah Port Terminal Railroad, Inc., Defendant.

        The undersigned further certifies that the following is a full and complete list of officers,

directors, or trustees of the above identified parties:

        As to Defendant Genesee & Wyoming Railroad Services, Inc., its officers and directors

are:

        1.      Sarah A. Greene, CEO;

        2.      Alfred Q. Ricotta, Secretary;

        3.      Mark Blyth, CFO;
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4.     Catherine Pushchak, Assistant Secretary

5.     Ann P. Servatins

6.     Tony Long

7.     Andrew T. Chunko

8.     Scott Linn;

9.     Jerry Vest;

10.    Mark Blyth, Director;

11.    Sarah A. Greene, Director; and

12.    Alfred Q. Ricotta, Director.

As to Defendant Savannah Port Terminal Railroad, Inc., its officers and directors are:

1.     Andrew P. Chunko, CEO;

2.     Alfred Q. Ricotta, Secretary;

3.     Mark Blyth, CFO;

4.     Catherine Pushchak, Assistant Secretary;

5.     Michael Holben, Assistant Treasurer;

6.     Mark Blyth;

7.     Sarah A. Greene;

8.     Ann P. Servatins;

9.     Tony Long;

10.    Jerry Vest;

11.    Mark Blyth, Director;

12.    Sarah A. Greene, Director; and

13.    Alfred Q. Ricotta, Director.
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       The undersigned further certifies that the following is a full and complete list of other

persons, firms, partnerships, corporations, or organizations that have a financial interest in, or

another interest which could be substantially affected by, the outcome of this case (including a

relationship as a parent or holding company or similar relationship):

       1.      Defendants Genesee & Wyoming Railroad Services, Inc. and Savannah Port

Terminal Railroad, Inc. are wholly owned subsidiaries of Genesee & Wyoming, Inc.

       This 19th day of February, 2020.


                                               /s/ Walker S. Stewart
                                               WALKER S. STEWART
                                               Georgia Bar No. 221715
                                               Attorney for Defendants Genesee & Wyoming
                                               Railroad Services, Inc. and Savannah Port Terminal
                                               Railroad, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 19, 2020, I electronically filed the Defendants’

Disclosure Statement Pursuant to Local Rule 7.1.1. with the Clerk of Court using the CM/ECF

system, which will automatically send email notification of such filing to the following attorney

of record:

                                      James E. Shipley, Jr.
                                          John B. Manly
                                       Manly Shipley, LLP
                                         P. O. Box 10840
                                      Savannah, GA 31412
                                      Attorneys for Plaintiff


                                             /s/ Walker S. Stewart
                                             Walker S. Stewart
                                             Ga. Bar Number: 221715
                                             Attorney for Defendants

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